    Case 3:22-cv-00172-L Document 9-1 Filed 09/08/22                      Page 1 of 2 PageID 18

                                 Advertisement Certification Report


The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
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U.S. v. $6,123,652.21 in funds from FTC Trading Limited ac

Court Case No:              3:22-CV-172-L
For Asset ID(s):            See Attached Advertisement Copy

   Consecutive          Date Advertisement         Total Hours Web Site             Verification that
   Calendar Day          Appeared on the           was Available during              Advertisement
       Count                 Web Site                  Calendar Day                existed on Web Site
         1                   08/02/2022                      23.8                          Verified
         2                   08/03/2022                      23.9                          Verified
         3                   08/04/2022                      23.9                          Verified
         4                   08/05/2022                      23.9                          Verified
         5                   08/06/2022                      23.8                          Verified
         6                   08/07/2022                      23.8                          Verified
         7                   08/08/2022                      23.9                          Verified
         8                   08/09/2022                      23.9                          Verified
         9                   08/10/2022                      23.8                          Verified
        10                   08/11/2022                      23.9                          Verified
        11                   08/12/2022                      23.8                          Verified
        12                   08/13/2022                      23.9                          Verified
        13                   08/14/2022                      23.9                          Verified
        14                   08/15/2022                      23.9                          Verified
        15                   08/16/2022                      23.9                          Verified
        16                   08/17/2022                      24.0                          Verified
        17                   08/18/2022                      23.9                          Verified
        18                   08/19/2022                      23.9                          Verified
        19                   08/20/2022                      23.9                          Verified
        20                   08/21/2022                      23.9                          Verified
        21                   08/22/2022                      23.9                          Verified
        22                   08/23/2022                      23.9                          Verified
        23                   08/24/2022                      23.9                          Verified
        24                   08/25/2022                      23.9                          Verified
        25                   08/26/2022                      23.8                          Verified
        26                   08/27/2022                      23.9                          Verified
        27                   08/28/2022                      23.8                          Verified
        28                   08/29/2022                      23.9                          Verified
        29                   08/30/2022                      23.9                          Verified
        30                   08/31/2022                      23.9                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.




                                                                                                GOVERNMENT
                                                                                                  EXHIBIT
                                                                                                    A
   Case 3:22-cv-00172-L Document 9-1 Filed 09/08/22            Page 2 of 2 PageID 19


                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
       COURT CASE NUMBER: 3:22-CV-172-L; NOTICE OF FORFEITURE ACTION

      Pursuant to 18 U.S.C. § 981, the United States filed a verified Complaint for Forfeiture
against the following property:

       $6,123,652.21 in funds from FTC Trading Limited account in the name of Evegnii
       Igorevich Polianin aka Evgenily Igorevich Polyanin (22-FBI-000664) which was
       seized from Evegnii Igorevich Pollanin on or about October 01, 2021 in New York,
       NY

Any person claiming a legal interest in the Defendant Property must file a verified Claim
with the court within 60 days from the first day of publication (August 02, 2022) of this
Notice on this official government internet web site and an Answer to the complaint or
motion under Rule 12 of the Federal Rules of Civil Procedure within 21 days thereafter.
18 U.S.C. § 983(h)(1) permits a court to impose a civil fine on anyone asserting an interest
in property which the court determines was frivolous.

The verified Claim and Answer must be filed with the Clerk of the Court, 1100 Commerce
Street, Room 1452, Dallas, TX 75242, and copies of each served upon Assistant United
States Attorney Dimitri Rocha, 1100 Commerce Street, Third Floor, Dallas, TX 75242, or
default and forfeiture will be ordered. See, 18 U.S.C. § 983(a)(4)(A) and Rule G(5) of the
Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions.

The government may also consider granting petitions for remission or mitigation, which
pardon all or part of the property from the forfeiture. A petition must include a description
of your interest in the property supported by documentation; include any facts you believe
justify the return of the property; and be signed under oath, subject to the penalty of
perjury, or meet the requirements of an unsworn statement under penalty of perjury. See
28 U.S.C. Section 1746. For the regulations pertaining to remission or mitigation of the
forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of the forfeiture are
found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the forfeiture are found at
28 C.F.R. Section 9.5(b). The petition need not be made in any particular form and may
be filed online or in writing. You should file a petition not later than 11:59 PM EST 30 days
after the date of final publication of this notice. See 28 C.F.R. Section 9.3(a). The
https://www.forfeiture.gov/FilingPetition.htm website provides access to a standard petition
form that may be mailed and the link to file a petition online. If you cannot find the desired
assets online, you must file your petition in writing by sending it to Assistant United States
Attorney Dimitri Rocha, 1100 Commerce Street, Third Floor, Dallas, TX 75242. This
website provides answers to frequently asked questions (FAQs) about filing a petition.
You may file both a verified claim with the court and a petition for remission or mitigation.
